      Case 3:16-cr-00288-M           Document 113          Filed 08/22/17         Page 1 of 1       PageID 262
                                   IN THE UNITED STATES DISTRICT COURT:---
                                                                               U.S. DISTRICT COUZT
                                   FOR THE NORTHERN DISTRICT OF TEXA
                                                                           NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
                                                                                                     FILED
UNITED STATES OF AMERICA                                   )
                                                           )                                       AUG 2 2 2017
vs.                                                        )                         CASE N ~.: 3:16-CR-288-M (0')

CHRISTOPHER HEATH WRIGHT,          )
                                    )
                                                                                          CJi;RK, U.S. zg:r;rr COURT
          Defendant.                                                                                   Deputy
                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

           CHRISTOPHER HEATH WRIGHT, by consent, under authority of United States v. Dees, 125 F.3d 261
(5 1h Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 1
of the Indictment. After cautioning and examining CHRISTOPHER HEATH WRIGHT under oath concerning
each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that
the offense( s) charged is supported by an independent basis in fact containing each of the essential elements of such
offense. I therefore recommend that the plea of guilty be accepted, and that CHRISTOPHER HEATH WRIGHT
be adjudged guilty of Count 1 of the Indictment, that is, Conspiracy to Commit Bank and Mail Fraud, a violation
of 18 U.S.C. § 1349, and have sentence imposed accordingly. After being found guilty of the offense by the district
judge,

!81     The defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be im osed, or (c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should n             e de · ed, and (2) he Cou           ds by clear and
        convincing evidence that the defendant is not likely                 pose a da               othe person or the
        community if released.

        Date:   August 22, 2017.

                                                                                                                GE

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
